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                    EXHIBIT T
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                David S. Torborg/JonesDay          To “Draycott, Justin (CIV)” <Justin. Draycott@usdoj gov>
                Extension 4-5562                    cc James R. DaIy/JonesDay@JonesDay, R. Christopher
                09/02/2009 04:34 PM                    Cook/JonesDay@JonesDay
                                                  bcc David S. TorborglJonesDay
                                               Subject RE:Lj
    History:               This message has been forwarded.

 Toward the beginning of the call, Bunker acknowledged that there were outstanding depositions yet to be
 taken, and inquired whether the parties believed those depositions needed to be completed before the
 parties filed their summary judgment briefing. On behalf of Abbott, I discussed the fact that we still had to
 complete the 30(b)(6) topics, as well as Mr. Burney’s deposition, and also stated that we might participate
 in certain of the depositions taking place in the ongoing state depositions. We stated that we did not
 believe these particular depositions were necessarily pertinent to the grounds upon which Abbott intended
 to move for partial summary judgment, but stated that we would need to see what the United States filed
 before making a final assessment. I also commented that we were waiting to see what transpired with the
 Special Master’s ruling.

 At no point did anyone from the DOJ in any way comment that Abbott was seeking to “reopen discovery”
 (as your August 31, 2009 contends) or intimate in any way that we were not entitled to take these
 depositions. Rather, the takeaway from that meeting was that everyone acknowledged that additional
 depositions remained to be taken, and the question was simply when we would fit it in. Jim Daly, Chris
 Cook, and I all have this recollection. Please let me know if Bunker or Ann has a different recollection.

Should it be necessary, I would be happy to point you to all of the relevant history regarding the
scheduling of these depositions including the numerous unresponded-to times that Abbott requested
                                      --




witness designations and dates for scheduling purposes as well as the associated document production
                                                              --



issues.

Thanks,
-Dave

“Draycott, Justin (CIV)” <Justin.Draycottusdoj .gov>

                “Draycott, Justin (Clv)
                <Justin.Draycottusdoj.gov>        To “David S. Torborg” <dstorborg©JonesDay.com>
                                                   cc
                09/02/2009 02:09 PM
                                              Subject RE:




David     -    what do you contend was said?

     Original Message
From: David S. Torborg [mailto:dstorborg@JonesDay.comj
Sent: Wednesday, September 02, 2009 2:08 PM
To: Draycott, Justin (CIV)
Subject: RE:

Yes.
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             “Draycott,   Justin

             (CIV)

             <Justin. Draycott@
To
             usdoj.gov>                ‘David S.   Torborg”

                                       <dstorborg@JonesDay. corn>


cc
             09/02/2009 01:56

             PM
Subj ect
                                       RE:




David, are you suggesting that something was said by a Govt attorney on
5/26 that is inconsistent with something in my letter?
Thanks, Justin.

     Original Message
Prom: David S. Torborg [mailto:dstorborg@JonesDay.com]
Sent: Wednesday, September 02, 2009 1:40 PM
To: Draycott, Justin (CIV)
Cc: Hilary A Ramsey; Krause, Kathy (CIV)
Subject: Re:

Justin,

Did you attend the May 26, 2009 teleconference that was held between
counsel for Abbott, Dey, Roxane and the Government before the May 28,
2009 hearing?  The topic of these outstanding depositions was discussed
during that call.   I know that Bunker and Ann attended (as did myself,
Chris, and Jim Daly for Abbott), but I do not know if you attended.   If
you did not, I recommend that you round up with Bunker and Ann regarding
what was discussed.

Thanks,
— Dave
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              “Draycott,   Justin

              (CIV)”

              <Justin. Draycott@
To
              usdoj.gov>                   “David S.    Torborg”

                                           <dstorborg@JonesDay.com>,    “Hilary
A
                                           Ramsey” <haramsey@JonesDay. corn>

              08/31/2009 04:29
cc
              PM                           “Krause,    Kathy   (CIV)”

                                           <Kathy.Krause@usdoj .gov>


Subj ect




please see attached. [attachment    “Torborg46Aug3l—09.pdf” deleted by David
S.
Torborg/Jones Day]



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